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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §           Criminal No: 3:19-CR-606-L
                                                   §
 JOHN RUTLEDGE                                     §


                  AMENDED CRIMINAL TRIAL SCHEDULING ORDER

On April 22, 2020, Chief Judge Barbara M.G. Lynn issued Special Order No. 13-11 (“Order”).
The Order continued the trial dates of all jury trials that were scheduled between May 1, 2020,
through May 31, 2020, because of the COVID-19 Pandemic (“Pandemic”), to a date to be reset by
each presiding judge. The Order is incorporated herein by reference as if repeated verbatim.

Although the Pandemic still exists and there has not been a decline or downward trajectory of
COVID-19 positive cases for a 14-day consecutive period, as recommended by the Centers for
Disease Control in Dallas County─the county from which the vast majority of jurors will be
selected to serve as jurors in trials in the Dallas Division of the Northern District of Texas─there
has been enough of a decline or downward trajectory of positive COVID-19 cases for the court to
consider setting future jury trials later this year. A few jury trials have recently taken place in the
Dallas Division, and the court is aware of no attendee or trial participant in any of the cases
contracting COVID-19. For this reason and the court’s safety procedures (use of masks, social
distancing, installation of shields, temperature checks, availability of ample hand sanitizer, and use
of multiple courtrooms to conduct the jury trial), it believes that this case can be set for trial later
this year.

Although Chief Judge Lynn’s Order only extended the trial dates of jury cases set between May
1, 2020, through May 31, 2020, the court determines in the interest of justice that it will revive
pretrial deadlines that expired before the issuance of the Order. Accordingly, the court resets this
case as follows for trial on December 14, 2020, at 9:00 a.m.

        Motion Deadline: October 16, 2020, at 4:00 p.m.

        Motion Response Deadline: October 30, 2020, at 4:00 p.m.

        Replies: No replies to any motion may be filed without leave of court.

        Trial Setting: Monday, December 14, 2020, at 9:00 a.m.

Counsel and their staffs are directed to read this order before contacting the court for
information. This order contains basic information that addresses many of the inquiries
received by the court. Questions concerning this order may be addressed to the courtroom
deputy (214) 753-2368.
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The court’s response-to-motion deadline is the date listed only if the motion is filed on the
motion deadline; otherwise, the response should be filed in accordance with the court’s
Local Rules of Criminal Procedure.

                                       Application of Rules

1.     The parties shall comply with the Federal Rules of Criminal Procedure and the local
       criminal rules of this court. If the court, by order entered in this case, has modified the
       application of a Federal Rule of Criminal Procedure or a local criminal rule, the court’s
       order governs.

                                Pretrial Motions and Plea Papers

2.     Pursuant to Fed. R. Crim. P. 12(c), all pretrial motions, notices, requests, and demands
       shall be filed no later than the motion deadline set forth above. Motion practice is governed
       by LCrR 47.1 and 47.2. The court will not conduct a hearing on a motion unless a hearing
       is required by law or by rule.

3.     Motions in limine must not be filed as a matter of course and, if filed, must be limited to
       matters that meet the following requirements: (1) the matter cannot adequately be raised
       by trial objection without prejudice to the moving party and (2) the prejudice of mentioning
       the matter in the presence of the jury cannot be cured by an instruction from the court.
       Motions in limine must include neither “standard” or “boilerplate” requests not tailored to
       a case-specific matter, nor issues presented in order to obtain substantive rulings that
       should have been requested in advance of trial by appropriate motion. Motions in limine
       must be filed at least 21 days before the trial setting unless counsel, in the exercise of
       reasonable diligence, could not have known of the basis for the motion as of the motion
       deadline. If that narrow requirement is met, a motion in limine may be filed after the
       motion deadline, but it must include as the first section of the motion a detailed explanation
       of why counsel, in the exercise of reasonable diligence, could not have known of the basis
       for the motion as of the motion deadline.

4.     Plea agreements and factual resumes must be submitted to the court by 12:00 p.m. on
       Wednesday before the criminal docket or the trial setting. If these documents are not
       submitted by this deadline, the case will not be on the court’s docket.


                      Trial Setting, Continuances, and Pretrial Conference

5.     This case is set for trial on the date set forth above. When the term “trial setting” is used
       in this order, it means that date.

6.     If the trial setting is continued, the parties’ obligations to comply with unexpired deadlines
       governed by the date of the trial setting are extended so that they are governed by the date
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        of the new trial setting. Unless the court orders otherwise, the continuance of a trial setting
        does not extend the motion deadline or any expired deadlines.

7.      If the court determines that a pretrial conference should be conducted before the date of the
        trial setting, it will notify counsel; otherwise, the court will conduct a pretrial conference
        on the date of the trial setting, prior to jury selection.

8.      Counsel are to be mindful that a last-minute trial cancellation inconveniences all the
        citizens who have come to serve as jurors and wastes taxpayer money. To avoid such a
        cancellation, counsel must complete plea negotiations prior to the date scheduled for trial.
        Additionally, counsel for the defendant must ensure that the defendant has appropriate
        court attire to wear on the day of trial. If a defendant is incarcerated, defense counsel must
        ensure that appropriate court attire is either transported with the defendant from the prison
        facility or that such attire is made available to the defendant at the Marshals Service Office
        shortly after the defendant arrives at the courthouse.

9.      When a case is continued, a party may not file additional motions unless leave of the court
        is granted to do so, or the amended scheduling order sets a new date for the filing of
        motions.

10.     Any person appearing in court must be properly attired. It is counsel’s duty to ensure
        that all persons appearing on behalf of or in connection with their client are
        appropriately attired and informed of this court rule. The court does not permit T-shirts,
        shorts of any kind, flip-flops, halter or tank tops, jogging or exercise attire, or sagging
        pants or jeans to be worn in the courtroom by any person. No person appearing in the
        courtroom, whether participant or spectator, may chew gum. Persons in violation of
        these rules will not be permitted in the courtroom.

                              Trial Materials and Pretrial Disclosures

11.     The parties must comply with LCrR 16.1(a) at least 21 days before the trial setting. The
        parties must comply with LCrR 16.1(b) at least 21 days before the trial setting.

12.     Witness lists and exhibit lists must be prepared as separate documents. Exhibit lists must
        contain a brief description (e.g., lab report) of each exhibit, and must separately list each
        exhibit by the number that will be used at trial. Witness lists must separately list each
        witness and must separately identify expert witnesses.

13.     Any exhibit that a party seeks to introduce must be properly marked, and copies of any
        such exhibit must be available to opposing counsel and the court. The original shall be
        provided to the court reporter. The court reporter will not mark exhibits for counsel, and
        the court will not permit the removal of attachments of one document to be used as exhibits
        during the course of a trial and other proceeding. If this procedure is not followed, the
        document will not be admitted into evidence.
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14.     Counsel must submit proposed voir dire questions, if any, at least 21 days before the trial
        setting. The court will conduct the principal voir dire. Unless counsel are otherwise
        notified, the court will permit one attorney per side to ask follow-up questions (a time limit
        of twenty minutes is usually imposed).

15.     Objections to a party’s exhibits must be specific and filed at least 14 days before the trial
        setting. Any response to a party’s objections must be filed at least seven days before the
        trial setting. Further, the parties must meet, confer, and provide to the court in writing
        at least seven days prior to the trial setting, a list of all exhibits to which no objection
        is made as to admissibility

16.     Counsel must submit requested jury instructions, in accordance with LCrR 30.1, at least 21
        days before the trial setting.

17.     The Government must inform the defense of the general nature of any evidence it intends
        to introduce pursuant to Federal Rule of Evidence 404(b) at least 21 days before the trial
        setting.

                                      Presentation of Evidence

18.     Unless leave of court is obtained, the court will limit the examination of each witness to
        direct examination, cross-examination, redirect examination, and recross-examination. In
        cases where the court deems it appropriate, the court will impose time limits on the
        presentation of evidence.

19.     The court permits the use of summary witnesses to summarize voluminous writings,
        recordings, or photographs, as permitted by Fed. R. Evid. 1006. Except in extraordinary
        cases—such as those that are unusually complex or lengthy—the court does not permit
        witnesses to summarize non-documentary evidence or to summarize the evidence that a
        party contends relates to particular counts charged in the indictment or to its theories of the
        case.


                              Trial Schedule and Conduct of Counsel

20.     The court’s normal working hours during trial are 9:00 a.m. to 6:00 p.m., Monday
        through Friday. The court , however, usually reserves Monday afternoons for its biweekly
        criminal docket.

21.     The conduct of counsel at trial is governed by LCrR 57.4. Unless counsel are already
        familiar with the content of this rule, they must read it prior to commencement of the trial.
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  It is so ordered this 25th day of September, 2020.




                                              _________________________________
                                              Sam A. Lindsay
                                              United States District Judge
